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      EXHIBIT 10
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From:                           DHL Customer Support <support@dhl.com>
Sent:                           Sunday, November 24, 2019 4:01 AM
To:                             Cooley LLP
Subject:                        DHL Shipment Notification : 1156592776



[External]


Notification for shipment event group "Delivered " for 24 Nov 19.


AWB Number: 1156592776
Pickup Date: 2019-11-21 15:44:00
Service: D
Pieces: 1
Cust. Ref:
Description: Legal Documents

Ship From:                        Ship To:
COOLEY LLP
                                  Q CYBER TECHNOLOGIES LTD
101 CALIFORNIA STREET, 5TH FLOOR
                                  22 GALGALEI HAPLADA
CALIFORNIA CA CA CALIFORNIA
                                  Herzliya, 4672222
SAN FRANCISCO, CACalifornia 94111
                                  IL
US

EVENT CATEGORY
24 Nov 19 1:59 PM - Shipment delivered - LOD,ISRAEL


Signed By - NAHOM PLD


Shipment status may also be obtained from our Internet site in USA under http://track.dhl-usa.com or
Globally under http://www.dhl.com/track.

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